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lonzetta CPCC.CV,2582096

Citation

EMMA KOELEMAY | NO. 630026-B

VS STATE OF LOUISIANA
‘KROGER CO. j PARISH OF CADDO

FIRST JUDICIAL DISTRICT COURT

THE STATE OF LOUISIANA, TO: KROGER CO
THRU CORPORATION SERVICE COMPANY, AGENT
501 LOUISIANA AVENUE
BATON ROUGE, LA
70802

YOU HAVE BEEN SUED.

Attached to this Citation is a certified copy of the Petition.* The petition tells you what you are being sued
for.

You must EITHER do what the petition asks, OR, within FIFTEEN (15) days after you have received
these documents, you must file an answer or other legal pleadings in the Office of the Clerk of this Court
at the Caddo Parish Court House, 501 Texas Street, Room 103, Shreveport, Louisiana.

If you do not do what the petition asks, or if you do not file an answer or legal pleading within FIFTEEN
(15) days, a judgment may be entered against you without further notice.

This Citation was issued by the Clerk of Court for Caddo Parish, on this date April 28, 2021.

*Also attached are the following:
______ REQUEST FOR ADMISSIONS OF FACTS
XX __ INTERROGATORIES
XX__ REQUEST FOR PRODUCTION OF DOCUMENTS

 

 

 

 

These documents mean you have been sued. Legal assistance is advisable, and you should contact a lawyer
immediately. If you cannot find a lawyer, please go to www.shreveportbar.com and click on the Lawyer
Referral Service link, or go to the Shreveport Bar Center on the third Monday of each month from 5:30 -
7:30 for a free seminar. If eligible, you may be entitled to legal assistance at no cost to you through
Shreveport Bar Legal Aid. Please call 318222-7186 formoreinformation.

If you are a person with a disability, please contact the Clerk of Court's office for information regarding
accommodation and assistance.

SERVICE COPY

 
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EMMA KOELEMAY NUMBER; DIV.
VERSUS 1§™ JUDICIAL DISTRICT

THE KROGER CO.

AND JANE DOE CADDO PARISH, LOUISIANA

PETITION FOR DAMAGES
NOW INTO COURT, through undersigned counsel, comes Emma Koelemay, a resident of
the full age of majority of the Parish of Caddo, State of Louisiana, who respectfully represents:
1,
Made defendants herein are:

1, The Kroger Co., a foreign company authorized to do and doing business in
the State of Louisiana and who may be served through its duly authorized
agent for service of process, Corporation Service Company, 501 Louisiana
Avenue, Baton Rouge, LA 70802; and

2. JANE DOE, an unknown employee of The Kroger Co.

im
On or about January 15, 2021, at approximately 11:15 a.m., Plaintiff, Emma Koelemay, was
a customer of Kroger located at 6652 Youree Drive, Shreveport, Louisiana, (Store #K035 Kroger
East/Dallas),
5.
Petitioner, Emma Koelemay, had entered the store to make some purchases.
4,
An unknown employee of Kroger, Jane Doe, was moving several stacked boxes.
ay
Suddenly and without warning, petitioner, Emma Koelemay, was struck by falling boxes,
6.
Prior to being struck, there were no warning signs, devices, or other notices to Plaintiff,
Emma Koelemay, warning her of the hazardous condition posed by the stack of boxes.
7.

During the incident, Petitioner was struck in the head, neck, and shoulder area, resulting in

knocking her down to the floor. Petitioner sustained significant injuries.

¢

Caddo Parish 4 002
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Breaneshia Thompson
Deputy Clerk of Court
E-File Received Apr 27, 2021 3:51 PM
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g,

This incident was caused by the fault of defendant, Jane Doe, in the following non-exclusive

respects:

a.

b.

By failing to maintain their premises in a safe condition;

By creating a hazardous condition by stacking boxes in an unsafe manner;
By failing to warn plaintiff of an unsafe condition;

By failing to inspect the area and/or to remove such hazards;

By failing to follow store policies and procedures on moving merchandise and/or
using dolly/carts and/or other similar devices;

By failing to prevent plaintiff from entering into what defendants knew or should
have known was an unsafe area; and

Other acts of negligence which were the cause of this incident and will be shown
at the trial of this matter.

9.

This incident was caused by the fault of defendant, The Kroger Co., in the following non-

exclusive respects:

a,

b.

By failing to maintain their premises in a safe manner;
By failing to war plaintiff of the unsafe manner;
By creating a hazardous condition by stacking boxes in an unsafe manner;

By failing to inspect the area and/or to remove such hazards;

By failing to follow store policies and procedures on moving merchandise and/or
using dolly/carts;

By failing to properly train and supervise Kroger employees regarding store

policies and procedures on moving merchandise and/or using dolly/carts and/or
similar devices;

By failing to prevent plaintiff from entering into what defendants knew or should
have known was an unsafe area; and

Other acts of negligence which were the cause of this incident and will be shown
at the trial of this matter.

10,

The Kroger Co., is vicariously liable for the delictual acts of Jane Doe (unknown employee

of The Kroger Co.) under the theory of respondeant superior.

11,

As a result of the incident, Plaintiff, Emma Koelemay, has sustained the following non-

exclusive elements of damages:
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a, Physical pain, suffering, and anguish (past, present, and future);

b. Mental anguish (past, present, and future);

c, Loss of enjoyment of life (past, present, and future);
d, Disfigurement and disability;

é Medical expenses (past, present, and future);

Other elements of damages developed during discovery and/or demonstrated
with particularity at the trial of this matter.

WHEREFORE, plaintiff, Emma Koelemay, prays that defendants be duly served and
cited to appear and answer this Petition, and after the expiration of all legal delays and due
proceedings are had, that there be a judgment rendered herein in favor of Emma Koelemay and
against defendants, The Kroger Co. and Jane Doe, for all items of special damages incurred by
plaintiff and such general damages as are reasonable in the premises, together with legal

interest

from the date of judicial demand until paid, all costs of this proceeding, and all such other and

equitable relief to which plaintiff may be entitled.

RESPECTFULLY SUBMITTED:

LEY DEBOSIER INJURY LA RS, PLC

   
 

ixten B. Bernard 26816) ~
. Adam Savoie (#32676)

aul Wilkins (#19830)

4300 Youree Drive, Suite 250
Shreveport, LA 71105

Phone: (318) 670-7365
Facsimile: (318) 670-7417
Counsel for Plaintiff

PLEASE SERVE:

 

The Kroger Co.

Through its registered agent for service of process;
Corporation Service Company

501 Louisiana Avenue

Baton Rouge, LA 70802

 

Jane Doe
Address unknown
Service to be withheld at this time
